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                         U NITED S TATES B ANKRUPTCY C OURT
                          W ESTERN D ISTRICT OF M ICHIGAN

                                            SOUTHERN DIVISION


In re:

James C. McDaniels, Jr. and
Amy L. McDaniels                                                   Docket No. 18-00748-swd
                                                                   Hon. Scott W. Dales
         Debtors.
                                             /



                        E X P AR T E M O T I O N T O E X T E N D T I M E F O R E N T R Y   OF
                                      R E A F F I R M AT I O N A G R E E M E N T

          Now Comes Debtors James C. McDaniels, Jr. and Amy L. McDaniels, (the “Debtors”),

through their attorney the Witte Law Offices, PLLC, request an extension of time for entry of a

reaffirmation agreement with respect to property located at 1805 Wesley Place, Lansing, MI 48906-

3841, and in support of state as follows:

          1.        Debtors filed for relief under chapter 7 of the United State Bankruptcy Code on

February 27, 2018;

          2.        The deadline for Objections to Discharge is June 25, 2018.

          3.        The Debtors wishes to enter into a reaffirmation agreement for the debt secured by

property located at 1805 Wesley Place, Lansing, MI 48906;

          4.        Pursuant to FED R. BANKR. P. 4008, the time for filing reaffirmation agreements in

the instant case will expire shortly; however, the Court may at any time in its discretion enlarge the

time to file a reaffirmation agreement.
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          5.    Debtors have not yet received a reaffirmation agreement with respect to the home

located at 1805 Wesley Place, Lansing, MI 48906, but anticipate receiving one from the mortgage

lender.

          WHEREFORE the Debtors respectfully requests that the Court enter an Order Granting

the ExParte Motion to Extend Time for Entry of the Reaffirmation Agreement.

                                                    Respectfully submitted

                                                    J A M E S C. M C D A N I E L S   AND   A M Y L.
                                                    MCDANIELS


Dated: June 18, 2018                                /s/ Norman C. Witte
                                                    Norman C. Witte (P40546)
                                                    WITTE LAW OFFICES, PLLC
                                                    Attorneys for Debtors
                                                    119 E. Kalamazoo Street
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                            EXPARTE MOTION TO EXTEND TIME FOR ENTRY OF
                                     REAFFIRMATION AGREEMENT
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